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lN THE UNITED STATES DISTRICT COURT
FOR THE DlSTRlCT OF MARYLAND

WIKIMED|A FOUNDATION,
Plaintiff,

Case No. 1:15-cv-662

NATIONAL SECURITY AGENCY/
CENTRAL SECURITY SERVlCE, et
al.,

Defendants.

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ORDER

This matter was stayed for the duration of the lapse in appropriations to the Department
of Justice. As of January 25, 2019, funding was restored for the Department of .lustice through
February 15, 2019. It is thus appropriate to lift the stay. Det`endants have requested the
opportunity to meet and confer with the plaintit`F s counsel l`or the purpose ol` promptly
submitting to the Court a proposed briefing schedule that takes into account the duration of the
lapse in appropriations This request will be granted.

Accordingly,

lt is hereby ORDERED that the stay is LIFTED.

It is further ORDERED that the parties arc to meet and confer to discuss a proposed
briefing schedule that takes into account the duration of the lapse in appropriations.

The Clerk of Court is directed to provide a copy of this Order to all counsel of record.

Alcxandria, Virginia
.lanuary 31, 2019 %

/s/ v
T. S. Ellis, lll
United States D strict Judge

